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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
______________________________
                               )
UNITED STATES OF AMERICA )
            Plaintiff,         )
      v.                       )        CRIMINAL NO. 13-CR-226 (RNC)
                               )
DANIEL E. CARPENTER            )
            Defendant.         )        DECEMBER 11, 2018
______________________________)


              DEFENDANT’S MOTION FOR RECONSIDERATION OF THE
                        DECEMBER 3, 2018 JUDGMENT


       Pursuant to Local Rule 7(c), the Defendant Daniel Carpenter respectfully moves the

Court to reconsider the Judgment of December 3, 2018. As explained more fully in the attached

Memorandum of Law, the Defendant respectfully submits that the Court overlooked Mr.

Carpenter’s position that he is entitled to at least 16 months for time that he over-served on his

Boston sentence, and that the Court failed to consider the Due Process violation cited herein.

       Wherefore, the Defendant Daniel Carpenter respectfully moves this Court to reconsider

the Judgment of December 3, 2018, which sentenced Mr. Carpenter to a custodial term of

incarceration of 30 months, and reduce that sentence to time served or home confinement.



                                              THE DEFENDANT

                                              /s/ Jonathan J. Einhorn

                                              JONATHAN J. EINHORN
                                              129 WHITNEY AVENUE
                                              NEW HAVEN, CT 06510
                                              FEDERAL BAR NO. ct00163
                                              EINHORNLAWOFFICE@GMAIL.COM




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                                       CERTIFICATION

        I hereby certify that on this 11th day of December, 2018, a copy of the foregoing Motion was
filed electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

                                               /s/ Jonathan J. Einhorn
                                               JONATHAN J. EINHORN




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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

______________________________
                              )
UNITED STATES OF AMERICA )
            Plaintiff,        )
      v.                      )                     CRIMINAL NO. 13-CR-226
                              )
DANIEL E. CARPENTER           )
            Defendant.        )                     December 11, 2018
______________________________)


                        MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANT’S MOTION FOR RECONSIDERATION



                             I.      PRELIMINARY STATEMENT

       The Second Circuit has made it clear that a Motion for Reconsideration pursuant to Rule

7(c) is appropriate when the Court has overlooked something or to prevent a “manifest injustice”

as is argued here.

       Mr. Carpenter respectfully suggests that his 30-month sentence of incarceration be

reduced to time served or home confinement because the Court overlooked Mr. Carpenter’s

argument that he over-served his sentence in the Boston case by at least 16 months (see PSR at

paragraph 201), and that the government attorneys in this case violated their duty under 18

U.S.C. §3161(j) of the Speedy Trial Act to notify the warden at Canaan of the pending charges

against Mr. Carpenter in the Connecticut case so that he could demand an expeditious trial.

       Because of this failure on the part of the Government to notify the warden at Canaan or

Mr. Carpenter of his rights under §3161(j) in June 2014, Mr. Carpenter respectfully asks that the

Court reconsider its Judgment of 30 months and reduce it to time served or home confinement




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when added to the argument that he over-served time in the Boston case. He is thus entitled to

credit exceeding his sentence.



   II.       LEGAL STANDARD

          The Second Circuit has stated that a Motion for Reconsideration is appropriate when a

court has overlooked something or to prevent a manifest injustice. See, e.g., Virgin Atlantic v.

National Mediation Bd., 956 F.2d 1245 (2d Cir. 1992). In the Court’s December 3, 2018

Judgment (the “Judgment”), sentencing Mr. Carpenter to a custodial sentence of 30 months, the

Court has overlooked both the defendant’s argument that he is owed a credit of at least 16

months of time over-served on his Boston case (see PSR at paragraph 201), and he is entitled to

have his sentence reduced due to the Due Process violation by the Government discussed supra.



   III.      THE REMEDY FOR A DUE PROCESS VIOLATION IS TO REDUCE MR.
             CARPENTER’S SENTENCE TO TIME SERVED

          “[T]he Due Process Clause always protects defendants against fundamentally unfair

treatment by the government in criminal proceedings.” United States v. Ray, 578 F.3d 184, 199

(2d Cir. 2009), citing Doggett v. United States, 505 U.S. 647, 666 (1992). In Ray, in trying to

craft a remedy for the Due Process violation for the delay in Ms. Ray’s case, the Second Circuit

eliminated the need for her to serve any of her custodial sentence or serve her time in a Halfway

House and stated the following:

          “The appropriate remedy for a proven due process violation often depends on the stage at
          which the violation is found and the relief sought. After a due process violation has
          occurred, courts endeavor to fashion relief that counteracts the prejudice caused by the
          violation. The Sixth Circuit has stated that suspension of the remainder of the sentence is
          the appropriate remedy for a due process violation…. The violation of Ray's due process
          right has prejudiced her insofar as a delayed custodial sentence threatens to undermine
          her successful rehabilitation. To remedy that harm, the appropriate relief is to release her

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       from any requirement that she submit to a custodial sentence. Accordingly, we conclude
       that the appropriate remedy in this case is the vacatur of Ray's sentence insofar as it
       imposes a six-month term of residence in a halfway house.” Ray at 202-03.


       Similarly, this is the rare case where both sections 18 U.S.C. §3161(j) and §3164 come

into play. Section §3164 was violated because the Government required Mr. Carpenter to be

imprisoned at the Wyatt Detention Center throughout his trial rather than receive a furlough

under CFR 570.33, or be at a local Halfway House in Hartford. The Government also knowingly

postponed Mr. Carpenter’s trial from the original date of October 2015 to a new date in February

2016, just so the Government could travel across the country and interview witnesses. This was

clearly a violation of §3164 of the Speedy Trial Act, but as §3164’s only remedy is the release of

the defendant, Mr. Carpenter asks the Court to reduce his sentence accordingly.

       The Due Process delay bullet that the Government cannot possibly dodge is 18 U.S.C.

§3161(j)(1), (2), and (3), which provide as follows:

               (j)(1) If the attorney for the government knows that a person charged with an
               offense is serving a term of imprisonment in any penal institution, he shall
               promptly –

               (B) cause a detainer to be filed with the person having custody of the prisoner and
               request him to so advise the prisoner and to advise the prisoner of his right to
               demand trial.

               2. If the person having custody of such prisoner receives a detainer, he shall
               promptly advise the prisoner of the charge and of the prisoner's right to demand
               trial. If at any time thereafter the prisoner informs the person having custody that
               he does demand trial, such person shall cause notice to that effect to be sent
               promptly to the attorney for the government who caused the detainer to be filed.

               3. Upon receipt of such notice, the attorney for the government shall promptly
               seek to obtain the presence of the prisoner for trial. See Benatta at *12-13.

       In Mr. Carpenter’s case, however, the Government knew that he was sentenced by the

Judge in Boston in February of 2014, and his post-trial motions were denied in May of 2014



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when the Government hit him with a Superseding Indictment with a whole new series of money

laundering charges, one month before the Government knew that Mr. Carpenter would be

reporting to prison. While the Government knew they were re-indicting Mr. Carpenter in May

2014 just before he reported to USP Canaan in June 2014, they did not comply with §3161(j).

         Therefore, Mr. Carpenter respectfully requests this Court reduce his sentence to time

served as was done in Ray. Once again, the defendant in Ray pleaded guilty to mail fraud, the

Government forgot about her as here, and the district court sentenced her to six months in a

halfway house which the Second Circuit reduced to zero to make up for the Due Process delay.

Even assuming that Mr. Carpenter is guilty, he deserves the same Due Process considerations as

the defendants in Ray and Benatta.,


   IV.      CONCLUSION

         The Defendant Daniel Carpenter respectfully moves this Court to reconsider its Judgment

of December 3, 2018, and to reduce the Defendant’s sentence to a non-custodial sentence of time

served or home confinement for the reasons argued above.



                                              THE DEFENDANT

                                              /s/ Jonathan J. Einhorn

                                              JONATHAN J. EINHORN
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                                              NEW HAVEN, CT 06510
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                                               /s/ Jonathan J. Einhorn
                                               JONATHAN J. EINHORN




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